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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA
_______________________________________
                                            )
 COMMITTEE ON WAYS AND MEANS,               )
  UNITED STATES HOUSE OF                    )
  REPRESENTATIVES,                          )
                                            )
                     Plaintiff,             )
                                            )
                 v.                         )
                                            ) No. 1:19-cv-1974-TNM
 UNITED STATES DEPARTMENT OF THE )
  TREASURY, et al.,                         )
                                            )
                     Defendants,            )
                                            )
 DONALD J. TRUMP, et al.,                   )
                                            )
                     Defendant-Intervenors. )
_______________________________________)

                                      NOTICE OF ERRATA

         The parties’ Joint Status Report filed on July 30, 2021, inadvertently referred on page one

to the House of Representatives Committee on Ways and Means as the House of Representatives

Committee on Oversight and Reform. The attached corrected Joint Status Report rectifies that

error.


Dated: July 31, 2021



                                                  Respectfully submitted,

                                                  BRIAN D. NETTER
                                                  Deputy Assistant Attorney General

                                                  JOHN R. GRIFFITHS
                                                  Director

                                                  ELIZABETH J. SHAPIRO
                                                  Deputy Director
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                               /s/ James J. Gilligan
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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA
_______________________________________
                                            )
 COMMITTEE ON WAYS AND MEANS,               )
  UNITED STATES HOUSE OF                    )
  REPRESENTATIVES,                          )
                                            )
                     Plaintiff,             )
                                            )
                 v.                         )
                                            ) No. 1:19-cv-1974-TNM
 UNITED STATES DEPARTMENT OF THE )
  TREASURY, et al.,                         )
                                            )
                     Defendants,            )
                                            )
 DONALD J. TRUMP, et al.,                   )
                                            )
                     Defendant-Intervenors. )
_______________________________________)

                          JOINT STATUS REPORT (CORRECTED)

       Pursuant to the Court’s July 3, 2021, Minute Order, the parties respectfully submit the

following joint status report.

       On June 16, 2021, the Chairman of the House of Representatives Committee on Ways

and Means (the “Committee”) sent correspondence to the Secretary of the Treasury (the

“Secretary”) making a renewed request, pursuant to 26 U.S.C. § 6103(f)(1), for the individual tax

returns of former President Donald J. Trump, and the returns of eight of his businesses, for the

tax years 2015-2020. The request also seeks IRS audit histories and work papers associated with

each return. The Chairman’s request is attached hereto as Exhibit A.

       The Department of the Treasury (“Treasury”) asked for the views of the Department of

Justice Office of Legal Counsel (“OLC”) as to whether the Secretary must furnish the requested

returns and return information to the Committee. Today OLC has issued an opinion concluding

that the information requested by the Committee is related to and would further legitimate
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legislative objectives of the Congress, and therefore, under the terms of section 6103(f)(1),

Treasury must furnish the requested information to the Committee. A copy of OLC’s opinion is

attached hereto as Exhibit B. Treasury intends, therefore, to comply with the Committee’s

renewed request, in accordance with the conclusions reached by OLC.

        In light of the foregoing developments, the parties wish to confer on an orderly schedule

that would afford the Defendant-Intervenors a reasonable opportunity to raise and to litigate such

grounds as they may have against disclosure of the requested tax-return information, but that also

respects the Committee’s interest in timely production of the return information it seeks.

        Position of the Plaintiff

        Plaintiff respectfully requests that the Court direct the parties to file a status report on or

before August 4, 2021, setting forth proposals for expedited proceedings in this case, including

proposals for expedited briefing on possible motion(s) for summary judgment. Plaintiff submits

that expedited briefing and consideration by the Court are warranted due to the length of time

that the Chairman’s request for the Defendant-Intervenors’ tax returns has been pending.

Plaintiff does not object to Treasury’s forbearance from production to the Committee of the

requested tax-return information pending the Court’s action on a schedule for expedited

submission, briefing, and resolution by this Court of any claims the Defendant-Intervenors wish

to raise.

        Plaintiff further requests that the Court allow to expire on August 3, 2021, its Minute

Order allowing 72 hours’ notice to counsel for the Defendant-Intervenors before any release of

the Defendant-Intervenors’ tax returns to the Committee. Plaintiff submits that a further

extension of that requirement is unnecessary in light of the agreed upon forbearance from

production of the tax returns pending the Court’s action on a schedule.




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       Joint Position of the Defendants and Defendant-Intervenors

       Treasury is prepared to forbear from production to the Committee of the requested tax-

return information pending a suitable schedule for expedited submission, briefing, and resolution

by this Court of any claims the Defendant-Intervenors wish to raise.

       Defendants and Defendant-Intervenors therefore request that the Court direct them to file

a status report on or before August 4, 2021, in which the parties are to propose an agreed-upon

schedule for further proceedings in this matter, or, if the parties are unable to come such an

agreement, to submit their respective proposals for further litigation of the case.

       Defendants would not object in the meantime to an order requiring 72 hours’ notice to

counsel for the Defendant-Intervenors before any release to the Committee of the tax-return

information requested in the Committee’s June 16, 2021, correspondence.


Dated: July 30, 2021



                                                  Respectfully submitted,

                                                  BRIAN D. NETTER
                                                  Deputy Assistant Attorney General

                                                  JOHN R. GRIFFITHS
                                                  Director

                                                  ELIZABETH J. SHAPIRO
                                                  Deputy Director


                                                   /s/ James J. Gilligan
                                                  JAMES J. GILLIGAN
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                              Acquisition Member Corp., LFB Acquisition
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                              Trump National Golf Club-Bedminster




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